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                            Exhibit GG
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                                                        AV+




                                     MALIA M. COHEN
                              California State Controller



February 8, 2023



Westborough SPE LLC
do Denise Edwards
1241 Deer Park Ave., Suite 1 #1051
North Babylon, NY 11703

Re:    Unclaimed Property Claim Identification Number 4853303

Dear Ms. Edwards:

This letter is in response to the above-referenced Unclaimed Property Claim. The claim was
referred to the Legal Office for review. As explained in more detail below, after review, the
claim must be denied.

This claim was submitted for one property identified as number 1019294209. This property
was remitted to the State Controller's Office by MUFG Union Bank as a checking account
in the amount of $1,293,646.83. The owner is reported as "Westborough SPE LLC" at a
last known address of "50 California St., Suite 3610, San Francisco, CA 94111."

It appears to be your contention that you are entitled to these funds because you purchased
the assets of Westborough SPE LLC. In support of your claim you submitted a Bill of Sale,
a Certificate of Revival of Westborough SPE LLC from Delaware Secretary of State, a
Foreign Limited Liability Company Application for Registration from the Massachusetts
Secretary of State, proof of FEIN, and Westborough SPE, LLC's Motion to Vacate
Foreclosure Judgment filed with the Land Court for the Commonwealth of Massachusetts.

Based upon the documentation submitted and our research, it appears that Westborough
SPE, LLC was a Delaware entity. Based upon information received by the State
Controller's Office, Westborough SPE, LLC was manager run as opposed to member or
owner run. The manager was Babcock & Brown Administrative Services, Inc., a Delaware
corporation. Officers of Babcock & Brown Administrative Services, Inc. included Jan
Blaustein Scholes, James Jaworski, and Dyann Blaine.
 300 Capitol Mall, Suite 1850, Sacramento, CA 95814 P.O. Box 942850, Sacramento, CA 94250 Fax: (916) 322-4404
                                                    sco.ca.gov
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The Bill of Sale dated November 21, 2022, between Westborough SPE, LLC and Denise
Edwards and Lolonyon Alouete was signed by "Jan Blaustein Scholes, its President." Jan
Blaustein Scholes has suffered from multiple strokes since 2004. In 2019 the Hawaii Third
Circuit, Kona Division granted Conservatorship and Guardianship over the person and
estate of Frances Jan Blaustein Scholes to her son, Peter Blaustein. As Jan Blaustein
Scholes has been judicially declared to lack capacity, she is unable to enter into contracts.
After review, the Bill of Sale was signed by Jan Blaustein Scholes after she was declared to
be incapacitated and had a Conservatorship and Guardianship entered over her person and
estate. Therefore, the Bill of Sale is void. As the Bill of Sale is void, you could not have
acquired any interest in Westborough SPE LLC and your claim for this property must be
denied.

Additionally, it should be noted that even if it is determined that Jan Blaustein Scholes had
the capacity to enter into the contact, it does not appear that you would be entitled to the
funds in question. It appears that Jan Blaustein Scholes signed the Bill of Sale as the
President of Babcock & Brown Administrative Services Inc. and not of Westborough SPE,
LLC. It appears that Babcock & Brown Administrative Services Inc. acted only as the
manager of Westborough SPE, LLC and did not have an ownership interest of Westborough
SPE, LLC. At this time our office is lacking sufficient information to determine whether an
officer of the managing entity, Babcock & Brown Administrative Services Inc., would have
authority to sell the assets of Westborough SPE LLC.

For the reasons discussed above, the claim is denied.

Sincerely,



HARPREET K. NAKHWAL
Staff Counsel

HKN/jh

cc:    Coleen Kimler, Bureau Chief, Unclaimed Property Division, State Controller's
       Office
